                         Case 19-04229                  Doc 36        Filed 10/02/19 Entered 10/02/19 14:08:37                           Desc Main
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  Fill in this information to identify your case:                                                             0.00
                                                                                                              0.00

   Debtor 1              Fredrick                Allen                  Scollay
                         __________________________________________________________________
                                                                                                               0.00
                                                                                                               0.00
                         First Name                     Middle Name          Last Name

   Debtor 2              Carolyn                 Ruth                   Fischer
                         __________________________________________________________________
                                                                                                               0.00         X   Check if this is an amended
   (Spouse, if filing)   First Name                     Middle Name          Last Name
                                                                                                                                plan, and list below the
   United States Bankruptcy Court for the : __NORTHERN DISTRICT OF ILLINOIS __                                                  sections of the plan that have
                                                                                                                                been changed
               19-04229
   Case Number ______________________________________________
   (If known)                                                                                                                   ________________________
                                                                                                                                 3.2, 5.1, 8.1
                                                                                                                                ________________________


Official Form 113
Chapter 13 Plan                                                                                                                                               12/17

  Part 1:            Notices

To Debtors:                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies.


 To Creditors:             Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                           attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                           includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                           be ineffective if set out later in the plan.




 1.1      A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                           Included         Not Included
          payment or no payment at all to the secured creditor
 1.2      Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                            Included         Not Included
          Section 3.4
 1.3      Nonstandard provisions, set out in Part 8                                                                                 Included         Not Included



 Part 2:             Plan Payments and Length of Plan

2.1 Debtors(s) will make regular payments to the trustee as follows:
          300.00
     $ ___________                   month for _____
                                 per_______        36 months
     Insert additional lines if necessary.
     If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
     payments to creditors specified in this plan.




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            __________________________________________________________________                                                 19-04229
                                                                                                        Case Number (if known) ______________________________
            First Name                 Middle Name                 Last Name


2.2 Regular payments to the trustee will be made from future income in the following manner:
    Check all that apply.
        Debtor(s) will make payments pursuant to a payroll deduction order.
        Debtor(s) will make payments directly to the trustee.
        Other (specify method of payment):____________________________.

2.3 Income tax refunds
    Check one.
            Debtor(s) will retain any income tax refunds received during the plan term.
            Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within14 days of filing the return and will
            turn over to the trustee all income tax refunds received during the plan term.
            Debtor(s) will treat income tax refunds as follows:
             ____________________________________________________________________________________________________

             ____________________________________________________________________________________________________
2.4 Additional payments.
    Check one.
            None. If “None” is checked, the rest of    2.4 need not be completed or reproduced.

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $ __________________.
                                                                                                    10,800.00

 Part 3:        Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.
    Check one.
            None. If “None” is checked, the rest of    3.1 need not be completed or reproduced.

            The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
            the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
            directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
            trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the
            filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and
            arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic stay
            is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
            paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
            column includes only payments disbursed by the trustee rather than by the debtor(s).

             Name of Creditor             Collateral           Current installment      Amount of           Interest rate on   Monthly plan Estimated total
                                                               payment                  arrearage (if       arrearage          payment on payments by
                                                               (including escrow)       any)                (if applicable)    arrearage    trustee

            OCWEN                       22925 W.               $          1,097.00     $         0.00           0.00   %       $        0.00    $            0.00
                                        Lakeview Ave           Disbursed by:
                                        Antioch IL 60002           Trustee
                                        - Primary                   Debtor(s)
                                        Residence

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.
            None. If “None” is checked, the rest of    3.2 need not be completed or reproduced.

3.3 Secured claims excluded from 11 U.S.C.            506.
   Check one.
           None. If “None” is checked, the rest of      3.3 need not be completed or reproduced.

3.4 Lien avoidance.
    Check one.
            None. If “None” is checked, the rest of          3.4 need not be completed or reproduced.

3.5 Surrender of collateral.
     Check one.
            None. If “None” is checked, the rest of    3.5 need not be completed or reproduced.


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           __________________________________________________________________                                             19-04229
                                                                                                   Case Number (if known) ______________________________
            First Name                Middle Name              Last Name


 Part 4:        Treatment of Fees and Priority Claims

4.1 General
    Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in 4.5, will be paid in full without
    postpetition interest.

4.2 Trustee's fees
                                                                                                                  6.00
    Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be ________% of plan payments; and
                                                        648.00
    during the plan term, they are estimated to total $___________.


4.3 Attorney's fees
                                                                                           3,700.00
    The balance of the fees owed to the attorney for the debtor(s) is estimated to be $___________.


4.4 Priority claims other than attorney's fees and those treated in        4.5.
    Check one.

           None. If “None” is checked, the rest of   4.4 need not be completed or reproduced.

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
    Check one.

           None. If “None” is checked, the rest of   4.5 need not be completed or reproduced.

 Part 5:        Treatment of Nonpriority Unsecured Claims


5.1 Nonpriority unsecured claims not separately classified.
    Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
    providing the largest payment will be effective. Check all that apply.

           The sum of $___________.

             10
           _______%                                                                1,572.00
                    of the total amount of these claims, an estimated payment of $_________.

           The funds remaining after disbursements have been made to all other creditors provided for in this plan.

                                                                                                                                       0.00
           If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $______________.
           Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.
5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.
           None. If “None” is checked, the rest of   5.2 need not be completed or reproduced.

5.3 Other separately classified nonpriority unsecured claims. Check one.
           None. If “None” is checked, the rest of   5.3 need not be completed or reproduced.

 Part 6:        Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
    and unexpired leases are rejected. Check one.

           None. If “None” is checked, the rest of   6.1 need not be completed or reproduced.




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            __________________________________________________________________                                           19-04229
                                                                                                  Case Number (if known) ______________________________
            First Name                Middle Name              Last Name



  Part 7:       Vesting of Property of the Estate


7.1 Property of the estate will vest in the debtor(s) upon
    Check the applicable box:

            plan confirmation.
            entry of discharge.
            other: ____________________________________________.

  Part 8:       Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions
            None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.


  Part 9:      Signature(s):

9.1 Signatures of Debtor(s) and Debtor(s)' Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if
must sign below.




                         Fredrick Allen Scollay                                             Carolyn Ruth Fischer


            Date:                                                              Date:



            /s/ Megan Hayes
     ________________________________________                        Date: 10/02/2019
     Signature of Attorney for Debtor


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s)
also certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
those contained in Official Form 113, other than any nonstandard provisions included in Part 8.




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            First Name               Middle Name              Last Name



Exhibit: Total Amount of Estimated Trustee Payments
      The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
      out below and the actual plan terms, the plan terms control.

a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                            $                0.00

b.   Modified secured claims (Part 3, Section 3.2 total)                                                    $                0.00

c.   Secured claims excluded from 11 U.S.C.        506 (Part 3, Section 3.3 total)                          $                0.00

d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                     $                0.00

e.   Fees and priority claims (Part 4 total)                                                                $           4,348.00

f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                              $           1,572.00

g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                          $                0.00

h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                     $                0.00

i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)               $                0.00

j.   Nonstandard payments (Part 8, total)                                                                   $                0.00


     Total of lines a through j                                                                             $           5,920.00




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